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 1                                                                                  The Honorable Robert J. Bryan

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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT TACOMA

 9   ANNA OMELIN, individually and as an                            Civil Action No. 3:17-cv-05837
     administrator of the Estate of Anton Omelin,
10   deceased,                                                      DECLARATION OF AARON PERAHIA IN
                                                                    SUPPORT OF DEFENDANT RED BULL
11                      Plaintiff,                                  NORTH AMERICA, INC.’S MOTION FOR
                                                                    SUMMARY JUDGMENT
12            vs.
                                                                    NOTE ON MOTION CALENDAR:
13   HANSEN BEVERAGE COMPANY d/b/a                                  FRIDAY, OCTOBER 12, 2018
     MONSTER BEVERAGE CORPORATION,
14   a Delaware corporation, MONSTER
     ENERGY COMPANY, a Delaware
15   corporation, RED BULL NORTH
     AMERICA, INC., a California corporation,
16   and DOES 1-100, inclusive,

17                      Defendants.

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      Perahia Decl. ISO Def. Red Bull’s Mot. for Summary Judgment                     Betts Patterson Mines
      (3:17-cv-05837-RJB) - 1                                                     701 Pike Street, Suite 1400
                                                                                Seattle, Washington 98101-3927
                                                                                         (206) 292-9988
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 1                                      DECLARATION OF AARON PERAHIA
 2            I, Aaron Perahia, declare as follows:

 3            1.        I am an attorney at the law firm of Quinn Emanuel Urquhart & Sullivan, LLP, and

 4   I am counsel for defendant Red Bull North America, Inc. (“Red Bull”). I am a member in good

 5   standing of the State Bar of California and admitted pro hac vice to this Court. I respectfully

 6   submit this declaration in support of Red Bull’s Motion for Summary Judgment. I have personal

 7   firsthand knowledge of the matters set forth in this declaration, and if called as a witness I would

 8   testify competently to those matters.

 9            2.        Attached hereto as Exhibit A is a true and correct copy of plaintiff Anna
10   Omelin’s (“Plaintiff’s”) Second Amended Complaint filed in this action on January 16, 2018

11   (Dkt. # 44).

12            3.        Attached hereto as Exhibit B are true and correct copies of excerpts from the
13   deposition of Plaintiff (“Omelin Tr.”) taken in this action on August 6, 2018.

14            4.        Attached hereto as Exhibit C is a true and correct copy of Plaintiff’s Objections
15   and Responses to Defendant Monster Energy Company’s Requests for Admission (Nos. 1-17)

16   served in this action on June 28, 2018.

17            5.        Attached hereto as Exhibit D are true and correct copies of excerpts from the
18   deposition Thomas B. Clark, M.D. (“Clark Tr.”) taken in this action on August 8, 2018.

19            6.        Attached hereto as Exhibit E is a true and correct copy of a compilation of
20   documents from the Medical Examiner’s Office for Pierce County, Washington, authenticated at

21   Clark Tr. at 12:24-15:8.

22            7.        Attached hereto as Exhibit F are true and correct copies of excerpts from the
23   deposition Angelito Quinto (“Quinto Tr.”) taken in this action on August 9, 2018.

24            8.        Attached hereto as Exhibit G is a true and correct copy of a Fife Police
25   Department case file, authenticated at Quinto Tr. at 10:7-11:14.

26            9.        Attached hereto as Exhibit H is a true and correct copy of images of the incident,
27   authenticated at Omelin Tr. at 155:9-18, 156:12-157:3.


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 1            10.       Attached hereto as Exhibit I are true and correct copies of excerpts from the
 2   deposition Michael J. Naccarato (“Naccarato Tr.”) taken in this action on August 10, 2018.
 3            11.       Attached hereto as Exhibit J is a true and correct copy of a Postmortem
 4   Examination Report, authenticated at Clark Tr. at 38:7-20.

 5            12.       Attached hereto as Exhibit K is a true and correct copy of a Certificate of Death,
 6   authenticated at Clark Tr. at 52:19-53:18.

 7            13.       Attached hereto as Exhibit L is a true and correct copy of Plaintiff’s Opposition
 8   to Red Bull’s Motion to Dismiss Plaintiff’s First Amended Complaint, filed in this action on

 9   January 8, 2018 (Dkt. # 40).

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11            I declare under penalty of perjury and the laws of the United States of America that the

12   foregoing is true and correct. Executed on September 20, 2018, at Los Angeles, California.

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                                                                     /s/ Aaron Perahia
14                                                                  Aaron Perahia
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                                                                           /s/ S. Karen Bamberger
 3                                                                 S. Karen Bamberger, WSBA No. 18478
                                                                     kbamberger@bpmlaw.com
 4                                                                 BETTS, PATTERSON & MINES
 5                                                                 Phone (206) 292-9988
                                                                   Fax (206) 343-7053
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 9                                                                 Valerie A. Lozano (pro hac vice)
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10                                                                 Aaron Perahia (pro hac vice)
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11                                                                 QUINN EMANUEL URQUHART &
                                                                   SULLIVAN, LLP
12
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13                                                                 Fax (213) 443-3100
                                                                   865 South Figueroa Street, 10th Floor
14                                                                 Los Angeles, California 90017-5003

15                                                                 Attorneys for Defendant Red Bull North
                                                                   America, Inc.
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     Perahia Decl. ISO Def. Red Bull’s Mot. for Summary Judgment                        Betts Patterson Mines
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 1                                              CERTIFICATE OF SERVICE
 2            I hereby certify that on September 20, 2018, I caused a true and correct copy of the

 3   foregoing Declaration of Aaron Perahia to be filed in this Court’s CM/ECF system, which will

 4   send notification of such filing to all parties who have appeared in this matter.

 5            DATED this 20th day of September, 2018.

 6                                                                  /s/ S. Karen Bamberger
                                                                    S. Karen Bamberger, WSBA No. 18478
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